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                        Exhibit 3
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                                                                                    Page 1
                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         _________________________________
         IN RE MATTER OF:                                    )
         RICHARD KADREY, et al.,                             )
         Plaintiff,                                          )
                 vs.                                         ) C.A. NO.:
         META PLATFORMS, INC.,                               ) 3:23-cv-03417-VC
         Defendant.                                          )
         _________________________________)
            ** HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY **
                            UNDER THE PROTECTIVE ORDER
              VIDEOTAPED DEPOSITION OF TODOR MIHAYLOV, Ph.D.
                                Palo Alto, California
                            Thursday, September 19, 2024


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                                                                                Page 130
   1                   THE WITNESS:          It's -- my guess.             That would

   2     be my guess.

   3           Q.      (By Ms. Poueymirou)              Okay.

   4           A.      I don't know.

   5           Q.      And so what's being removed in the

   6     copyright section?

   7           A.      I don't know.

   8           Q.      Does it look like ISBN numbers?

   9           A.      It says that it might be ISBN numbers.

 10            Q.      Okay.

 11                    When you just jump down to the November

 12      17th, 2023, and these are obviously going in maybe

 13      reverse chrono, it says, "There are new" --

 14                    (Stenographer clarification.)

 15            Q.      (By Ms. Poueymirou)              "There are few

 16      improvements we can make to LibGen after the manual

 17      inspection of the data sets," and you go one, two,

 18      three, four, the fifth bullet point, "Remove rows

 19      containing copyright in the first and last 25

 20      percent of the book.              Rows containing any of these

 21      words 'ISBN, copyright, copyright signal, all rights

 22      reserved, and DOI.'"



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                                                                                Page 131
   1                   What do you take that to mean?

   2                   MR. WEINSTEIN:           Object to form.

   3                   THE WITNESS:          So I can only interpret,

   4     like, what is written here; that it is removing

   5     codes that are containing copyright in the first or

   6     the last 20 percent -- 25 percent of the book.

   7           Q.      (By Ms. Poueymirou)              Did -- did you ever

   8     process data and remove copyright from data when you

   9     were preparing data?

 10            A.      I personally, no.

 11            Q.      Do you know folks that did and, if so, who?

 12            A.      Yeah, so it seems that Nikolay did that if

 13      he is now the author of the document.

 14            Q.      Do you have any idea why Meta would want

 15      copyright removed from books?

 16            A.      I don't know.

 17            Q.      Do you know how copyright would have been

 18      removed from books?

 19                    MR. WEINSTEIN:           Object to form.

 20                    THE WITNESS:          I mean, I can guess what is

 21      written here.

 22            Q.      (By Ms. Poueymirou)              Yeah.



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                                                                                Page 132
   1                   How would it be removed?                 Would it be

   2     removed through a script?

   3                   MR. WEINSTEIN:           Object to form.

   4                   THE WITNESS:          I guess.

   5           Q.      (By Ms. Poueymirou)              Okay.

   6                   If you go to the next page, and it says

   7     "Copyright and PII, rows removed inside the

   8     documents."         And then you have this image here.

   9                   Is that showing us the rows that were

 10      removed from the documents; is that how to read this

 11      document?

 12                    MR. WEINSTEIN:           Object to form.

 13                    THE WITNESS:          I guess.

 14                    (Stenographer clarification.)

 15                    THE WITNESS:          I guess I would read it like

 16      this.

 17            Q.      (By Ms. Poueymirou)              Okay.

 18                    If you go to Page 00065258.

 19            A.      Which number again?

 20            Q.      0065258.

 21            A.      Okay.

 22            Q.      This page states, "The new mig shows



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